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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  _________________________________/

                THE NEWS MEDIA’S REPLY/NOTICE THAT THEIR JOINT
                 MOTION TO INTERVENE IS RIPE FOR ADJUDICATION

         Proposed Intervenors American Broadcasting Companies, Inc.; the Associated Press;

  Bloomberg LP; Cable News Network, Inc. (“CNN”); CBS Broadcasting Inc.; Dow Jones &

  Company, Inc., publisher of The Wall Street Journal; the E.W. Scripps Company; The Palm

  Beach Post, a newspaper owned and operated by Gannett Co., Inc.; Gray Media Group, Inc.,

  d/b/a WCJB-TV, WJHG-TV, and WWSB-TV; NBCUniversal Media, LLC; The New York

  Times Company; Times Publishing Company, publisher of the Tampa Bay Times; and WP

  Company LLC d/b/a The Washington Post (collectively, the “News Media”), hereby give notice

  that their joint motion to intervene in this matter for the limited purpose of seeking access to

  judicial documents, filed on August 31, 2022 (ECF No. 49, the “Motion”), can now be deemed

  submitted and ready for adjudication.

         As set forth in the Motion, the Government did not oppose the News Media’s

  intervention in this matter, and Former President Donald Trump took no position. See ECF No.

  49 at pp. 14-15. Per Local Rule 7.1(c)(1), if any memoranda in opposition to the Motion were to
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  be filed, they were due no later than September 14, 2022. As of this filing, no such memoranda

  have been filed. Thus, the News Media aver that the Motion is presently ready for this Court’s

  consideration.

         The News Media further note that certain records remain under seal in this matter,

  namely those docketed at ECF No. 40. The News Media understand ECF No. 40 to contain the

  Government’s submission regarding its Privilege Review Team’s Notice of Status of the Filter

  Process. The Government filed a motion to unseal that document (less Exhibits A and B to that

  filing) on September 8, 2022. See ECF No. 71. The News Media filed a further motion to

  unseal that court record on September 9, 2022. See ECF No. 79.

         Beyond the court records currently under seal, the News Media anticipate public access

  issues to future court records and proceedings may arise within the Special Master review

  process ordered by this Court. See Order Appointing Special Master, ECF No. 91. First, while

  this Court’s Order Appointing Special Master states that “all written scheduling plans, orders,

  reports, and recommendations, along with any additional information that the Special Master

  believes will assist the Court in reviewing” such records are to be “file[d] on the docket,”

  submitted documents deemed “potentially privileged, confidential, or national security material”

  are to be automatically filed under seal. See ECF No. 91 at p. 5. Further, the Government has

  suggested any filings related to that process be kept under seal. See ECF No. 48 at p. 34 (“Any

  documents that reflect the special master’s rulings, including orders, privilege logs, or other

  records, should be preserved and filed under seal with the Court but made available to both

  parties. Fed. R. Civ. P. 53(b)(2)(C).”). The Order Appointing Special Master also requires the

  Special Master to “make ex parte reports to the Court on an ongoing basis” with regard to the

  resolution of any privilege disputes between the parties. See ECF No. 91 at p. 6. The Order



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  further permits the ex parte receipt of materials by the Special Master, along with authorization

  to communicate with the Court ex parte. See ECF No. 91 at p. 6. Such procedures also raise

  potential public access concerns for the News Media.

         Limited intervention in this matter of heightened public interest involving current and

  former government officials is critical. Public access issues remain for which intervention is

  proper and for which the News Media presently have a right to be heard. See, e.g., Comm’r, Ala.

  Dep’t of Corr. v. Advance Local Media, LLC, 918 F.3d 1161, 1170 (11th Cir. 2019). The News

  Media therefore respectfully request that this Court grant the Motion.

  Dated: September 16, 2022                            Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 16, 2022, a true and correct copy of the foregoing
  document is being electronically filed and will be furnished via CM/ECF to the following:

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